

People v Then (2018 NY Slip Op 06042)





People v Then


2018 NY Slip Op 06042


Decided on September 12, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 12, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

REINALDO E. RIVERA, J.P.
SHERI S. ROMAN
SANDRA L. SGROI
COLLEEN D. DUFFY, JJ.


2012-06818
 (Ind. No. 1577/07)

[*1]The People of the State of New York, respondent,
vRafael Then, appellant.


Rafael Then, Alden, NY, appellant pro se.
Richard A. Brown, District Attorney, Kew Gardens, NY (John M. Castellano and Joseph N. Ferdenzi of counsel), for respondent.
Paul Skip Laisure, New York, NY (Patricia Pazner of counsel), former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated May 13, 2015 (People v Then, 128 AD3d 864), affirming a judgment of the Supreme Court, Queens County, rendered June 7, 2012.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
RIVERA, J.P., ROMAN, SGROI and DUFFY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








